Rohert C. Montgomery

ROBERT C. MONTGOMERY, CHTD.
Idaho SBN: 1793

2160 S.. Twin Rapid Way

Boise, ID 83709

Ph: (2'0-8) 322-8865

Fax: (208) 32`21-3'395
hmontgomerylaw@gmail.com

 

Attorneys for Plaintif‘f
UNITED STATES DISTRICT COURT
DISTRJCT OF IDAHO
SOUTHER.N DIVISION
)
ROCHELE REED ) Case No. l:lZ-cv-OO492-LMB
)
Plaintiff, ) STIPULATl-ON FOR DISMISSAL
) WITH PREJUDICE
vs. )
)
CRITICAL RESOLUTION MEDIATION, LLC )
)
Defendant, )
_l

COME NOW, the above-entitled parties, and hereby acknowledge and agree that they
have reached a settlement in this action and therefore stipulate that this action shall he

dismissed 'Wit.h prejudice, each partyr to pay for his/her/its own attorneys fees and costs.

 

 

Date: d Q\

Date: ]|1201 w

 

 

 

 

STIPULATION FOR DISMISSAL WITH PREJUDICE - l

